                 IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         GREENSBORO DIVISION




  Dr. DEIRDRE LEANE,

                                   Plaintiff,
                                                               Case No: 1:21-cv-00514
         v.
                                                               Consent Motion to Hold
  WILLIAM RALPH “BILLY”                                        Conference Remotely
  CARTER, JR.,

                                Defendant.



               CONSENT MOTION TO HOLD CONFERENCE REMOTELY


        Plaintiff Deirdre Leane, by her counsel and with the consent of all parties, respectfully

moves this Court under its discretion for an Order permitting the Initial Pretrial Conference on

September 22, 2022, at 9:30 a.m to be held by remote videoconference or teleconference. Plaintiff’s

counsel’s wife is scheduled for a surgical procedure three days prior to the hearing date, and Plaintiff

respectfully requests this accommodation by the Court to allow Plaintiff’s counsel to provide care

and support to his wife and their young children at his home in New York State. Plaintiff has

conferred with Defendant prior to filing this motion, and Defendant has given his consent.




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       For good cause shown, and by consent of all parties, Plaintiff respectfully requests that the

Court grant her motion and that this Court order that the conference of September 22, 2022 be held

remotely.

Date: September 6, 2022                                Respectfully Submitted,

 KAMERMAN, UNCYK, SONIKER &                            THE LAW OFFICES OF T. GREG
  KLEIN P.C.                                             DOUCETTE PLLC

   /s/ Akiva M. Cohen                                     /s/ T. Greg Doucette
 Akiva M. Cohen                                        T. Greg Doucette
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 acohen@kusklaw.com                                    Email: greg@tgdlaw.com




                                 CERTIFICATE OF SERVICE

    The undersigned has this date served the foregoing CONSENT MOTION TO HOLD
CONFERENCE REMOTELY upon the Defendant as follows:

       To:            Ben E. Klein, Esq.      & Grant Sigmon, Esq.
                      SIGMON KLEIN, PLLC
                      114 N. Elm Street, Suite 210
                      Greensboro, NC 27401
                      Attorneys for Defendant
                      Service by: CM/ECF pursuant to Fed. R. Civ. P. 5(b)(2)(E)

       This the 6th day of                    September                          , 2022.

                                      THE LAW OFFICES OF T. GREG DOUCETTE PLLC

                                      /s/ T. Greg Doucette
                                      T. Greg Doucette
                                      North Carolina Bar No. 44351
                                      LOCAL COUNSEL
                                      311 E. Main Street
                                      Durham, North Carolina 27701-3717
                                      Phone: (919) 998-6993
                                      Email: greg@tgdlaw.com


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